 Case 5:20-cr-00075-H-BQ Document 31 Filed 09/18/20              Page 1 of 1 PageID 67



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              LUBBOCKDIVISION

IJNITED STATES OF AMERICA,
   Plaintiff,

                                                           NO. 5:20-CR-075-01-H

SAMUEL LYNN JOHNSON (l),
   Defendant.


            ORDER ACCEPTING REPORT AND RECOMMEIYDATION
               OF TIIE UNITED STATES MAGISTRATE JTJDGE
                      CONCERNING PLEA OF GIJILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$ 636OX1), the undersigned   District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court's scheduling order.

       SOORDERED.
                          ta/
       Dated September   / 0, zozo.


                                           J      S
                                                           AJ-     A?
                                                      WESLEY HENDRIX
                                                       STATES DISTRICT JUDGE
